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                                                               Hearing Date: November 16, 2021 at 10:00 a.m.


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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X
                                                               :
                    In the Matter                              :     Chapter 7
                                                               :     Case No. 21-10699 (DSJ)
                          -of-                                 :
                                                               :
KOSSOFF PLLC,                                                  :
                                                               :
                                                               :
                                            Debtor.            :
                                                               :
-------------------------------------------------------------- X

      TRUSTEE’S REPLY IN SUPPORT OF CHAPTER 7 INTERIM TRUSTEE’S
        APPLICATION FOR ORDER HOLDING MITCHELL H. KOSSOFF
  IN CIVIL CONTEMPT FOR FAILURE TO COMPLY WITH ORDER TO COMPEL
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TO THE HONORABLE DAVID S. JONES,
UNITED STATES BANKRUPTCY JUDGE:

                 Albert Togut, not individually but solely in his capacity as the Chapter 7

Interim Trustee (the “Trustee”) of the bankruptcy estate (the “Estate”) of Kossoff PLLC

(the “Debtor”), by his counsel, Togut, Segal & Segal, LLP, respectfully submits this

reply in response to Mitchell H. Kossoff’s Submission in Opposition to the Trustee’s Motion

for Contempt [Docket No. 249] (the “Opposition”) and in further support of the Chapter 7

Interim Trustee’s Application for an Order Holding Mitchell H. Kossoff in Civil Contempt for

Failure to Comply with Order to Compel [Docket No. 218] (the “Contempt Motion”).1

                                                  REPLY

I.       The Relief Sought by the Trustee is Necessary and Appropriate

         1.      The Opposition does not, and cannot, provide any legitimate basis that

could excuse Kossoff’s indisputable failure to comply with this Court’s Order to

Compel and the District Court’s September 30, 2021 Order Denying Motion to Appeal,

both of which are final. Those orders explain that Kossoff must perform his obligations,

and that he can do so without waiving any personal Fifth Amendment privileges.

         2.      Instead, the Opposition demonstrates that Kossoff can comply with those

orders and that he has willfully failed to do so. In doing so, he has advanced his

personal interests at the expense of the Trustee’s investigation and the interests of the

Debtor’s creditors.

         3.      Kossoff’s mischaracterizations2 of his incomplete and inadequate

document productions and his attempts to revisit prior rulings fail to refute the record


1
     Capitalized terms used but not defined herein shall have the meanings given to them in the
     Contempt Motion.
2
     For example, the Trustee has not sought to freeze any of Kossoff’s personal accounts. See Opp. at p. 2.
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in this case which demonstrates that Kossoff is in contempt and that he has failed to

purge that contempt notwithstanding being provided adequate time and opportunities

to perform his court-ordered obligations.

        4.       The docket in this case establishes that, at the very least, Kossoff has failed

to prepare or file the Debtor’s Schedules and Statement of Financial Affairs. Kossoff

does not dispute this failure even though he has the information and tools to prepare

those important Debtor documents. See Opp. at pp. 14-15.

        5.       Indeed, the privilege log that Kossoff produced to the Trustee on

November 10, 2021, a copy of which is annexed hereto as Exhibit “A,” clearly

demonstrates that Kossoff has the ability to access records and information concerning

the Debtor’s financial affairs up to and including the Petition Date. For example, he has

withheld:

             •   “Electronically generated documents reflecting money transfers to and

                 from Kossoff PLLC from 2/4/14 to 4/1/21;”

             •   “[C]omputer generated documents reflecting merchant cash payments

                 from Kossoff PLLC from 1/2016 to 4/7/21;”

             •   “[C]omputer generated reports for 2021 reflecting deposits into and

                 payments from Kossoff PLLC…;” and

             •   “[S]elected computer generated reports for 2019 reflecting deposits into

                 and payments from Kossoff PLLC…”3

        6.       These are precisely the types of documents and information that should

be included in the Debtor’s Schedules and Statement of Financial Affairs, and which is


3
    The privilege log refers to Bates stamp numbers, but none of the documents that Kossoff has
    produced to the Trustee were Bates stamped.


                                                   2
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desperately needed by the Trustee. However, Kossoff has chosen to withhold that

critical information from the Trustee and from the Court.

       7.      Kossoff has also appeared in numerous State and Federal court actions

and Grievance Committee proceedings in which former clients of the Debtor have

particularized their claims against the Debtor. Those claims are public and Kossoff can

include them in the Debtor’s Schedules, lists and Statement of Financial Affairs in

compliance with the Order to Compel, but he has failed to do so.

       8.      In addition, Kossoff also knows full well that the Clerk of the Court needs

a list of the Debtor’s creditors to schedule and provide notice of a section 341 meeting at

which Kossoff can be examined. See July 22, 2021 Hr’g Tr. at 40:21-23. However,

Kossoff has withheld that list and now argues without shame that he is not in contempt

for failure to appear and be examined at a section 341 meeting. Once again, Kossoff

appears to believe that he can continue to advance his personal interests in defiance of

this Court’s orders by delaying the Trustee’s investigation and elevate his personal

interests above creditors’ interests.

       9.      The Trustee respectfully submits that this Court should reject Kossoff’s

bad faith arguments. Kossoff clearly understands what his requirements are under

orders entered by this Court and the District Court, but he has instead led the Trustee to

this point by choosing contempt rather than compliance.

       10.     Kossoff’s promises of some sort of compliance at some unidentified time

in the future are unreliable, prejudice the Trustee and creditors, and improperly test the

patience and authority of the Court.

       11.     Contrary to Kossoff’s suggestions in the Opposition, the Trustee did not

file the Contempt Motion to punish Kossoff for having asserted Fifth Amendment

privileges. He did so because Kossoff has repeatedly demonstrated that nothing short

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of the risk of incarceration as a coercive civil sanction may motivate him to comply with

this Court’s authority. The Opposition is the latest demonstration of Kossoff’s intent to

ignore this Court, the Trustee and creditor interests while he advances his personal

interests.

       12.     For these reasons, the Trustee respectfully submits that the Contempt

Motion should be granted.

II.    Kossoff’s Request for Clarity, Adjournment, and a Hearing Should Be Denied

       13.     In his Opposition, Kossoff appears to request “clarity, adjournment, and a

hearing.” To the extent that Kossoff pursues this request, the Trustee respectfully

submits that it should be denied.

       14.     The Court ordered the Contempt Motion to be heard on November 16,

2021. See Docket No. 236. Accordingly, any request for a hearing is unnecessary.

       15.     Further, it is unclear from the Opposition exactly what Kossoff seeks to

clarify: orders entered by this Court and the District Court are clear, and Kossoff has

not and cannot point to any ambiguity in them; he has also chosen not to appeal from

the District Court’s order.

       16.     Finally, Kossoff’s belated request for further adjournment is unfounded.

Kossoff has already sought an adjournment form this Court, see Docket No. 234, and

this Court has rejected it and provided Kossoff additional time to submit his

Opposition. See Docket No. 236.

       17.     In doing so, the Court encouraged Kossoff “to take steps before then to

reduced or eliminate the outstanding issues that give rise to the Trustee’s motion for

contempt sanctions.” See id. Kossoff has failed to do so, and instead, has doubled down

on arguments that have been considered and rejected by this Court and the District

Court on the merits. He also makes the particularly egregious request that the

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November 16, 2021 hearing be adjourned so that the DA can have additional time to

respond to the Contempt Motion. The DA, which has no standing to contest the

Contempt Motion, was served with the Contempt Motion and has made no request to

be heard in connection with it.4

                                               CONCLUSION

                  WHEREFORE, the Trustee respectfully requests entry of findings of fact,

    conclusions of law, and an order declaring that Kossoff is in contempt of the Order to

    Compel and imposing appropriate sanctions, including, without limitation,

    incarceration, to compel Kossoff’s compliance herewith, and granting such other and

    further relief as this Court deems just and proper.

DATED: New York, New York
       November 15, 2021
                                                     Respectfully submitted,

                                                     ALBERT TOGUT,
                                                     Not individually but solely in his capacity as
                                                     Chapter 7 Interim Trustee of Kossoff PLLC
                                                     By His Counsel,
                                                     TOGUT, SEGAL & SEGAL LLP
                                                     By:

                                                     /s/ Neil Berger
                                                     NEIL BERGER
                                                     MINTA J. NESTER
                                                     BRIAN F. SHAUGHNESSY
                                                     One Penn Plaza, Suite 3335
                                                     New York, New York 10119
                                                     (212) 594-5000




4
      As set forth in the Trustee’s Application for an Order Compelling Disclosure of Certain Grand Jury Materials
      [Docket No. 217], the DA has impeded the Trustee’s investigation by refusing the Trustee’s request
      for access materials that the DA seized prior to the Petition Date. The Trustee respectfully submits
      ceding control of the outcome of the Contempt Motion would be inappropriate.


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